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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

  Greenbaum, Rowe, Smith & Davis LLP
  Metro Corporate Campus One
  P.O. Box 5600
  Woodbridge, New Jersey 07095
  (732) 549-5600
  David L. Bruck, Esq.
  dbruck@greenbaumlaw.com
  Attorneys for Almaden Plaza Shopping Center, Inc.
  In re:
                                                              Chapter 11 Proceeding
  BED BATH & BEYOND INC., et al.,
                                                              Case No.: 23-13359 (VFP)
                                      Debtor.
                                                              (Jointly Administered)

                                        CERTIFICATION OF SERVICE

          I, ADRIENNE MIRABELLA


 1.       □ represent the ________________ in the above captioned matter.
           am the secretary/paralegal for Greenbaum, Rowe, Smith & Davis, LLP, who represents
          the creditor, Almaden Plaza Shopping Center, Inc. in the above captioned matter.
          □ am the ____________ in the above case and am representing myself.
 2.       On June 21, 2023 I served copies of the following pleadings and/or documents via 1) the

 CM/ECF system for the United States Bankruptcy Court for the District of New Jersey upon all

 registered users thereof; and 2) via electronic mail to the parties listed on the chart below :

 Objection by Landlord Almaden Plaza Shopping Center Inc. to Debtors’ Proposed Cure
 Amount (Docket No. 788);

 3.       I certify under penalty of perjury that the above documents were sent using the mode of

 service indicated.

                                                                 /s/Adrienne Mirabella
                                                                 ADRIENNE MIRABELLA
 Dated: June 21, 2023


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    Name and Address of Party Served   Relationship of Party           Mode of Service
                                            to the Case
  Michael D. Sirota, Esq.              Counsel to Debtors         Hand-delivered
  Warren A. Usatine, Esq.
  Felice R. Yudkin, Esq.                                           Regular Mail
  Cole Schotz, PC
                                                                  Certified Mail/RRR
  25 Main Street
  PO Box 800
                                                                   Notice of Electronic Filing
  Hackensack, NJ 07602                                         (NEF)
  msirota@coleschotz.com
  wusatine@coleschotz.com                                          Other: Email
  fyudkin@coleschotz.com                                       (as authorized by the Court or by
                                                               rule. Cite the rule if applicable.)
  Joshua A. Sussberg, Esq.             Co-Counsel to               Hand-delivered
  Emily E. Geier, Esq.                 Debtors
  Derek I. Hunter, Esq.                                            Regular Mail
  Ross J. Fiedler, Esq.
                                                                  Certified Mail/RRR
  Kirkland & Ellis LLP
  601 Lexington Ave.
                                                                   Notice of Electronic Filing
  New York, NY 10022                                           (NEF)
  Derek.hunter@kirkland.com
  Joshua.sussberg@kirkland.com                                     Other: Email
  Emily.geier@kirkland.com                                     (as authorized by the Court or by
  Ross.fiedler@kirkland.com                                    rule. Cite the rule if applicable.)
  Office of the US Trustee             United States Trustee       Hand-delivered
  Fran B. Steele
  U.S. Department of Justice                                       Regular Mail
  Raymond Boulevard, Suite 2100
                                                                  Certified Mail/RRR
  Newark, NJ 07102
  Fran.B.Steele@usdoj.gov
                                                                   Notice of Electronic Filing
                                                               (NEF)

                                                                   Other: Email
                                                               (as authorized by the Court or by
                                                               rule. Cite the rule if applicable.)
  Marshall S. Huebner, Esq.            Counsel to                  Hand-delivered
  Adam L. Shpeen, Esq.                 Prepetition ABL
  Steven Z. Szanzer, Esq.              Agent                       Regular Mail
  Michael Pera, Esq.
                                                                  Certified Mail/RRR
  Davis Polk & Wardwell LP
  450 Lexington Ave.
                                                                   Notice of Electronic Filing
  New York, NY 10017                                           (NEF)

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    Name and Address of Party Served   Relationship of Party           Mode of Service
                                            to the Case
  Marshall.huebner@davispolk.com
  Adam.shpeen@davispolk.com                                        Other: Email
  Steven.szanzer@davispolk.com                                 (as authorized by the Court or by
  Michael.pera@davispolk.com                                   rule. Cite the rule if applicable.)
  David M. Hillman, Esq.               Counsel to DIP             Hand-delivered
  Megan R. Volin, Esq.                 Agent
  Prokauser Rose LLP                                               Regular Mail
  Eleven Times Square
                                                                  Certified Mail/RRR
  New York, NY 10036
  dhillman@proskauer.com
                                                                   Notice of Electronic Filing
  mvolin@proskauer.com                                         (NEF)

                                                                   Other: Email
                                                               (as authorized by the Court or by
                                                               rule. Cite the rule if applicable.)
  Robert J. Feinstein, Esq.            Counsel to Creditors’       Hand-delivered
  Bradford J. Sandler, Esq.            Committee
  Paul J. Labov, Esq.                                              Regular Mail
  Colin R. Robinson, Esq.
                                                                  Certified Mail/RRR
  Pachulski Stang Ziehl & Jones LLP
  780 Third Ave., 34th Floor
                                                                   Notice of Electronic Filing
  New York, NY 10017                                           (NEF)
  rfeinstein@pszjlaw.com
  bsandler@pszjlaw.com                                             Other: Email
  plabov@pszjlaw.com                                           (as authorized by the Court or by
  crobinson@pszjlaw.com                                        rule. Cite the rule if applicable.)
  Scott K. Charles, Esq.               Counsel to Stalking         Hand-delivered
  Michael S. Benn, Esq.                Horse Bidder
  Gordon S. Moodie, Esq.                                           Regular Mail
  Wachtell Lipton Rosen & Katz
                                                                  Certified Mail/RRR
  51 West 52nd Street
  New York, NY 10019
                                                                   Notice of Electronic Filing
  SKCharles@wlrk.com                                           (NEF)
  MSBenn@wlrk.com
  GSMoodie@wlrk.com                                                Other: Email
                                                               (as authorized by the Court or by
                                                               rule. Cite the rule if applicable.)




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